                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           WESTERN DISTRICT OF MISSOURI
                                WESTERN DIVISION

UNITED STATES OF AMERICA,                           )
                                                    )
              Plaintiff,                            )
                                                    )
              v.                                    )      No. 12-00386-07-CR-W-DGK
                                                    )
VERDIE CARR, JR.,                                   )
                                                    )
              Defendant.                            )

                           ACCEPTANCE OF PLEA OF GUILTY AND
                                ADJUDICATION OF GUILT

       Pursuant to the Report and Recommendation of the United States Magistrate Judge, to

which there has been no timely objection, the plea of guilty by the Defendant to Count One of

the Information filed on March 19, 2014 is now accepted and the Defendant is adjudged guilty of

such offense. Sentencing will be set by subsequent order of the Court.




                                                     /s/ Greg Kays
                                                    GREG KAYS, CHIEF JUDGE
                                                    UNITED STATES DISTRICT COURT

Dated: April 16, 2014




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